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CALLARI PARTNERS LLC
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Co-Counsel for Gonzalo Gil-White


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                            Chapter 15

 PERFORADORA ORO NEGRO, S. DE R.L.                 Case No. 18-11094 (SCC)
 DE C.V., et al.

 Debtors in a Foreign Proceeding.

 GONZALO GIL-WHITE, PERSONALLY
 AND IN HIS CAPACITY AS FOREIGN
 REPRESENTATIVE OF PERFORADORA                     Adv. Pro. No. 19-01294 (SCC)
 ORO NEGRO, S. DE R.L. DE C.V. AND
 INTEGRADORA DE SERVICIOS
 PETROLEROS ORO NEGRO, S.A.P.I. DE
 C.V.,

                           Plaintiff,

               -against-

 ALP ERCIL; ALTERNA CAPITAL
 PARTNERS, LLC; AMA CAPITAL
 PARTNERS, LLC; ANDRES CONSTANTIN
 ANTONIUS-GONZÁLEZ; ASIA
 RESEARCH AND CAPITAL
 MANAGEMENT LTD.; CQS (UK) LLP;
 FINTECH ADVISORY, INC.; DEUTSCHE
 BANK MEXICO, S.A., INSTITUCIÓN DE
 BANCA MÚLTIPLE; GARCÍA GONZÁLEZ
 Y BARRADAS ABOGADOS, S.C.; GHL
 INVESTMENTS (EUROPE) LTD.; JOHN

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  FREDRIKSEN; KRISTAN BODDEN;
  MARITIME FINANCE COMPANY LTD.;
  NOEL BLAIR HUNTER COCHRANE, JR;
  ORO NEGRO PRIMUS PTE., LTD.; ORO
  NEGRO LAURUS PTE., LTD.; ORO
  NEGRO FORTIUS PTE., LTD.; ORO
  NEGRO DECUS PTE., LTD.; ORO NEGRO
  IMPETUS PTE., LTD.; PAUL MATISON
  LEAND, JR.; ROGER ALAN BARTLETT;
  ROGER ARNOLD HANCOCK; SEADRILL
  LIMITED; SHIP FINANCE
  INTERNATIONAL LTD.; and DOES 1-100,

                         Defendants.



        NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS
       PLEASE TAKE NOTICE that Carollynn H.G. Callari and Russell D. Morris of the law

firm of Callari Partner LLC and of the Bar of this Court hereby enter their appearance in the above-

captioned case (the “Adversary Proceeding”) as co-counsel for Gonzalo Gil-White, and request,

pursuant to Rules 2002, 9007, and 9010(b) of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”) and section 1109(b) of title 11 of the United States Code (the “Bankruptcy

Code”), that copies of all notices, documents, papers and pleadings in the Adversary Proceeding

be given and served upon:

                       CALLARI PARTNERS LLC
                       Carollynn H.G. Callari
                       Russell D. Morris
                       One Rockefeller Plaza, 10th Floor
                       New York, NY 10020
                       Telephone:    212.202.3055
                       Facsimile:    732.243.0163
                       Email:        ccallari@callaripartners.com
                                     rmorris@callaripartners.com

       PLEASE TAKE FURTHER NOTICE that pursuant to Bankruptcy Code section

1109(b), the foregoing request includes not only the notices and papers referred to in the

Bankruptcy Rules specified above, but also includes, without limitation, any notice, application,

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motion, petition, pleading, request, complaint or demand, whether formal or informal, whether

written or oral, and whether transmitted or conveyed by mail, delivery, telephone, telegraph, telex,

facsimile transmission, e-mail or otherwise filed or made with respect to the Adversary

Proceeding.

       PLEASE TAKE FURTHER NOTICE that neither this request for notice and service nor

any later appearance, pleading, claim, or suit is a waiver of any substantive or procedural right.

Nor shall this request be deemed to constitute consent to electronic service of any pleading or

papers for which mailed or personal service is required under the applicable Bankruptcy Rules or

Federal Rules of Civil Procedure.

Dated: February 24, 2021                                     /s/ Carollynn H.G. Callari
       New York, New York                             Carollynn H.G. Callari

                                                      CALLARI PARTNERS LLC
                                                      One Rockefeller Plaza, 10th Floor
                                                      New York, NY 10020
                                                      Telephone:     212.202.3055
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                                                      Email: ccallari@callaripartners.com

                                                      Co-Counsel for Gonzalo Gil-White




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                                CERTIFICATE OF SERVICE

       I, Carollynn H.G. Callari, hereby certify that on February 25, 2021, I caused a copy of the

annexed Notice of Appearance and Request for Documents to be filed and served through ECF

notification upon all parties who receive notice in this matter pursuant to the Court’s ECF filing

system.

                                             /s/ Carollynn H.G. Callari
                                             Carollynn H.G. Callari




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